      Case 1:20-cv-01088 ECF No. 1, PageID.1 Filed 11/11/20 Page 1 of 28




                           In the United States District Court
                          For the Western District of Michigan
                                   Lansing Division

 Lena Bally, Steven Butler, Gavriel
 Grossbard, and Carol Hatch,
                                  Plaintiffs,
      v.
 Gretchen Whitmer, in her official ca-
 pacity as Governor of Michigan, Michi- Case No.: 1:20-cv-1088
 gan Board of State Canvassers, Jean-
 nette Bradshaw, in her official capacity
 as Chair of the Board of State Canvass-
 ers, Aaron Van Langevelde, in his of-
 ficial capacity as Vice-Chair of the
 Board of State Canvassers, Norman D.
 Shinkle, in his official capacity as a       Verified Complaint for
 member of the Board of State Canvass-
                                              Declaratory and Injunctive Relief
 ers, Julie Matuzak, in her official ca-
 pacity as a member of the Board of
 State Canvassers, Wayne County
 Board of County Canvassers, Monica
 Palmer, in her official capacity as Chair
 of the Wayne County Board of Canvass-
 ers, Jonathan C. Kinloch, in his offi-
 cial capacity as Vice-Chair of the
 Wayne County Board of Canvassers,
 William Hartmann, in his official ca-
 pacity as a member of the Wayne
 County Board of Canvassers, Allen
 Wilson, in his official capacity as a
 member of the Wayne County Board of
 Canvassers, Washtenaw County
 Board of Canvassers, Mary
 Hall-Thiam, in her official capacity as a
 member of the Washtenaw County
 Board of Canvassers, Malcom Doug
 Scott, in his official capacity as a mem-
 ber of the Washtenaw County Board of
 Canvassers, Dan Smith, in his official
 capacity as a member of the Washtenaw
 County Board of Canvassers,


Verified Complaint                         1
       Case 1:20-cv-01088 ECF No. 1, PageID.2 Filed 11/11/20 Page 2 of 28




 Teena Weaver-Gordon, in her official
 capacity as a member of the Washtenaw
 County Board of Canvassers, Ingham
 County Board of Canvassers, Ted
 Lawson, in his official capacity as a
 member of the Ingham County Board of
 Canvassers, Rebecca Bahar-Cook, in
 her official capacity as a member of the
 Ingham County Board of Canvassers,
 Joe Groff, in his official capacity as a
 member of the Ingham County Board of
 Canvassers, Jude Wells, in his official
 capacity as a member of the Ingham
 County Board of Canvassers, Barb
 Byrum, in her official capacity as a
 clerk of the Ingham County Board of
 Canvassers,
                               Defendants.

            Verified Complaint for Declaratory and Injunctive Relief

    Plaintiffs Lena Bally, Steven Butler, Gavriel Grossbard, and Carol Hatch (collectively “Vot-

ers”) complain as follows:

                                            Introduction

    1. This is a civil action for declaratory and injunctive relief concerning violations of Voters’

voting and equal-protection rights by election officials’ inclusion of illegal Presidential Elector

results in certain counties, which inclusion unlawfully dilutes Voters’ lawful votes and requires

invalidation of those presidential-election results in counties with evidence that sufficient illegal

ballots were included in the results to change or place in doubt the results of the November 3,

2020 presidential election in this state.

    2. Voters seek a remedy excluding presidential-election results from such counties in the

certification activities for Presidential Electors described in 3 U.S.C. § 6:

Verified Complaint                                2
       Case 1:20-cv-01088 ECF No. 1, PageID.3 Filed 11/11/20 Page 3 of 28




    It shall be the duty of the executive of each State, as soon as practicable after the conclusion
    of the appointment of the electors in such State by the final ascertainment, under and in
    pursuance of the laws of such State providing for such ascertainment, to communicate by
    registered mail under the seal of the State to the Archivist of the United States a certificate
    of such ascertainment of the electors appointed, setting forth the names of such electors and
    the canvass or other ascertainment under the laws of such State of the number of votes
    given or cast for each person for whose appointment any and all votes have been given or
    cast; and it shall also thereupon be the duty of the executive of each State to deliver to the
    electors of such State, on or before the day on which they are required by section 7 of this
    title to meet, six duplicate-originals of the same certificate under the seal of the State; and
    if there shall have been any final determination in a State in the manner provided for by law
    of a controversy or contest concerning the appointment of all or any of the electors of such
    State, it shall be the duty of the executive of such State, as soon as practicable after such
    determination, to communicate under the seal of the State to the Archivist of the United
    States a certificate of such determination in form and manner as the same shall have been
    made; and the certificate or certificates so received by the Archivist of the United States
    shall be preserved by him for one year and shall be a part of the public records of his office
    and shall be open to public inspection; and the Archivist of the United States at the first
    meeting of Congress thereafter shall transmit to the two Houses of Congress copies in full
    of each and every such certificate so received at the National Archives and Records Admin-
    istration.

                                   Jurisdiction and Venue

    3. This action arises under 42 U.S.C. § 1983 and the First and Fourteenth Amendments to

the U.S. Constitution.

    4. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1343(a), 2201, and 2202.

    5. Venue is proper under 28 U.S.C. § 1391(b) because one or more Defendants to this action

resides in this District and all Defendants reside in this State. Alternatively, venue is proper under

28 U.S.C. § 1391(b) because a substantial part of the events giving rise to the claim occurred or

will occur in this District.

                                               Parties

    6. All Plaintiffs are eligible registered voters in this State and were qualified to, and did, vote

for a presidential candidate in the November 3, 2020 presidential election in this State.

Verified Complaint                                 3
       Case 1:20-cv-01088 ECF No. 1, PageID.4 Filed 11/11/20 Page 4 of 28




    7. Plaintiff Lena Bally is an eligible and registered voter, who was qualified to, and did, vote

for a presidential candidate in the November 3, 2020 presidential election in this State. She is a

resident of Oakland County, Michigan.

    8. Plaintiff Steven Butler is an eligible and registered voter, who was qualified to, and did,

vote for a presidential candidate in the November 3, 2020 presidential election in this State. He is

a resident of Jackson County, Michigan.

    9. Plaintiff Gavriel Grossbard is an eligible and registered voter, who was qualified to, and

did, vote for a presidential candidate in the November 3, 2020 presidential election in this State.

He is a resident of Oakland County, Michigan.

    10. Plaintiff Carol Hatch is an eligible and registered voter, who was qualified to, and did,

vote for a presidential candidate in the November 3, 2020 presidential election in this State. She

is a resident of Eaton County, Michigan.

    11. All Defendants are persons authorized by federal and state law to be involved in the pro-

cess of certifying Presidential Electors as described in 3 U.S.C. § 6.

    12. Defendant Governor Gretchen Whitmer, sued in her official capacity, is required as the

state “executive” to finalize, execute, and send required certificates for Presidential Electors un-

der 3 U.S.C. § 6. Additionally, state law provides that:

    [a]s soon as practicable after the state board of canvassers has, by the official canvass,
    ascertained the result of an election as to electors of president and vice-president of the
    United States, the governor shall certify, under the seal of the state, to the United States
    secretary of state, the names and addresses of the electors of this state chosen as electors
    of president and vice-president of the United States. The governor shall also transmit to
    each elector chosen as an elector for president and vice-president of the United States a
    certificate, in triplicate, under the seal of the state, of his or her election.

Mich. Code § 168.46.


Verified Complaint                                4
       Case 1:20-cv-01088 ECF No. 1, PageID.5 Filed 11/11/20 Page 5 of 28




    13. Defendant Michigan Board of State Canvassers is

    required to canvass the returns and determine the result of all elections for electors of
    president and vice president of the United States . . . [and u]pon making the determination,
    the board of state canvassers shall immediately prepare a certificate of determination and
    deliver the properly certified certificate of determination to the secretary of state.

Mich. Code § 168.841(1).

    14. Defendant Jeannette Bradshaw, in her official capacity as Chair of the Board of State

Canvassers, is responsible for determining and certifying the results of the election “for electors

of president and vice president of the United States.” Mich. Code § 168.841(1).

    15. Defendant Aaron Van Langevelde, in his official capacity as Vice-Chair of the Board of

State Canvassers, is responsible for determining and certifying the results of the election “for

electors of president and vice president of the United States.” Mich. Code § 168.841(1).

    16. Defendant Norman D. Shinkle, in his official capacity as a member of the Board of State

Canvassers, is responsible for determining and certifying the results of the election “for electors

of president and vice president of the United States.” Mich. Code § 168.841(1).

    17. Defendant Julie Matuzak, in her official capacity as a member of the Board of State Can-

vassers, is responsible for determining and certifying the results of the election “for electors of

president and vice president of the United States.” Mich. Code § 168.841(1).

    18. Defendant Wayne County Board of Canvassers is responsible for canvassing the returns

and certifying the results of the election for Wayne County. Mich. Code § 168.821, et seq.

    19. Defendant Monica Palmer, in her official capacity as Chair of the Wayne County Board

of Canvassers, is responsible for canvassing the returns and certifying the results of the election

for Wayne County. Mich. Code § 168.821, et seq.



Verified Complaint                                5
          Case 1:20-cv-01088 ECF No. 1, PageID.6 Filed 11/11/20 Page 6 of 28




    20. Defendant Jonathan C. Kinloch, in his official capacity as Vice-Chair of the Wayne

County Board of Canvassers, is responsible for canvassing the returns and certifying the results

of the election for Wayne County. Mich. Code § 168.821, et seq.

    21. Defendant William Hartmann, in his official capacity as a member of the Wayne County

Board of Canvassers, is responsible for canvassing the returns and certifying the results of the

election for Wayne County. Mich. Code § 168.821, et seq.

    22. Defendant Allen Wilson, in his official capacity as a member of the Wayne County

Board of Canvassers, is responsible for canvassing the returns and certifying the results of the

election for Wayne County. Mich. Code § 168.821, et seq.

    23. Defendant Washtenaw County Board of Canvassers, is responsible for canvassing the

returns and certifying the results of the election for Washtenaw County. Mich. Code § 168.821,

et seq.

    24. Defendant Mary Hall-Thiam, in her official capacity as a member of the Washtenaw

County Board of Canvassers, is responsible for canvassing the returns and certifying the results

of the election for Washtenaw County. Mich. Code § 168.821, et seq.

    25. Defendant Malcom Doug Scott, in his official capacity as a member of the Washtenaw

County Board of Canvassers, is responsible for canvassing the returns and certifying the results

of the election for Washtenaw County. Mich. Code § 168.821, et seq.

    26. Defendant Dan Smith, in his official capacity as a member of the Washtenaw County

Board of Canvassers, is responsible for canvassing the returns and certifying the results of the

election for Washtenaw County. Mich. Code § 168.821, et seq.

    27. Defendant Teena Weaver-Gordon, in her official capacity as a member of the

Verified Complaint                               6
       Case 1:20-cv-01088 ECF No. 1, PageID.7 Filed 11/11/20 Page 7 of 28




Washtenaw County Board of Canvassers, is responsible for canvassing the returns and certifying

the results of the election for Washtenaw County. Mich. Code § 168.821, et seq.

    28. Defendant Ingham County Board of Canvassers, is responsible for canvassing the returns

and certifying the results of the election for Ingham County. Mich. Code § 168.821, et seq.

    29. Defendant Ted Lawson, in his official capacity as a member of the Ingham County Board

of Canvassers, is responsible for canvassing the returns and certifying the results of the election

for Ingham County. Mich. Code § 168.821, et seq.

    30. Defendant Rebecca Bahar-Cook, in her official capacity as a member of the Ingham

County Board of Canvassers, is responsible for canvassing the returns and certifying the results

of the election for Ingham County. Mich. Code § 168.821, et seq.

    31. Defendant Joe Groff, in his official capacity as a member of the Ingham County Board of

Canvassers, is responsible for canvassing the returns and certifying the results of the election for

Ingham County. Mich. Code § 168.821, et seq.

    32. Defendant Jude Wells, in his official capacity as a member of the Ingham County Board

of Canvassers, is responsible for canvassing the returns and certifying the results of the election

for Ingham County. Mich. Code § 168.821, et seq.

    33. Defendant Barb Byrum, in her official capacity as a member of the Ingham County

Board of Canvassers, is responsible for canvassing the returns and certifying the results of the

election for Ingham County. Mich. Code § 168.821, et seq.

                                               Facts

    34. The state certification of Presidential Electors prescribed in 3 U.S.C. § 6, will occur this

year by December 8 (if done by the “Safe Harbor” deadline, see 3 U.S.C. § 5), and the Electoral

Verified Complaint                                7
         Case 1:20-cv-01088 ECF No. 1, PageID.8 Filed 11/11/20 Page 8 of 28




College will vote on December 14. Voters seek a decision from this Court well before then to

allow for possible appeal as necessary, as set out in a separate motion for expedited consider-

ation.

    35. By the law of this state, the Board of County Canvassers started meeting on November 5,

2020 to canvass returns. Mich. Code §§ 168.821(1), 168.822(1). The Board of County Canvass-

ers must complete this canvass by November 17, 2020. Id. at 168.822(1). Within 24 hours of

completion, the clerk of the Board of County Canvassers shall deliver the results to the Secretary

of State. Id. at 168.828.

    36. If the Board of County Canvassers fails to certify the results by November 17, 2020, they

must “immediately deliver to the secretary of the board of state canvassers all records and other

information pertaining to the election.” Mich. Code § 168.822(2). The Board of State Canvassers

must then “meet immediately and make the necessary determinations and certify the results

within the 10 days immediately following the receipt of the records from the board of county can-

vassers.” Id.

    37. The Board of State Canvassers will begin meeting on November 23, 2020 to canvass the

returns, and ascertain and determine the result of the election. Mich. Code § 168.842(1). This

canvass must be completed by December 13, 2020. Id.

    38.As soon as practicable after the Board of State Canvassers has determined the results, the

Governor must certify the presidential electors. Mich. Code § 168.46.

    39. If the results of the presidential election have a vote deferential of less than 25,000 votes,

an expedited schedule may be enforced. Mich. Code § 168.842(2).




Verified Complaint                                8
       Case 1:20-cv-01088 ECF No. 1, PageID.9 Filed 11/11/20 Page 9 of 28




Presidential-Election Results in Key Counties

    40. The presidential-election results for Michigan are 2,794,822 votes for Joseph R. Biden

(“Biden”) and 2,647,832 votes for Donald J. Trump (“Trump”). 2020 Michigan Election Results,

The Office of Secretary of State Jocelyn Benson, https://mielections.us/election/results/2020GEN

_CENR.html# (last visited on November 11, 2020).

    41. The presidential-election results for Ingham County, Michigan are 94,221 for Biden and

47,640 for Trump. Unofficial Summary Results November 3, 2020 General Election Ingham

County, Ingham County, available at file:///C:/Users/court/Downloads/November2020ElectionSu

mmaryReportRPT%20(1).pdf (last visited November 11, 2020).

    42. The presidential-election results for Washtenaw County, Michigan are 157,130 for Biden

and 56,241 for Trump. Unofficial Election Results November 3, 2020 General Election,

Washtenaw County, available at https://electionresults.ewashtenaw.org/electionreporting/nov20

20/index.jsp (last visited November 11, 2020).

    43. The presidential-election results for Wayne County, Michigan are 587,074 for Biden and

264,149 for Trump. Election Summary Report November 3, 2020 - General Election Wayne

County, Michigan, Wayne County, available at https://www.waynecounty.com/elected/clerk/elect

ion-results.aspx (last visited November 11, 2020).

Sufficient Evidence Exists to Place in Doubt Presidential-Election Results in Key Counties

    44. There exists sufficient evidence to place in doubt the November 3 presidential-election

results in identified key counties, including issues with transparency, fraudulent changing of

dates, a software glitch, clerical errors, illegal votes, and many other issues and irregularities.

Some of that evidence follows:


Verified Complaint                                 9
      Case 1:20-cv-01088 ECF No. 1, PageID.10 Filed 11/11/20 Page 10 of 28




    45. A credentialed poll challenger was excluded from the absentee counting process, con-

trary to Michigan law. See, e.g., Trump v. Benson, Case No. 20-000225-MZ. Moreover, it has

been alleged that absentee counting boards conducted counts without inspectors from each party

being present and that challengers were denied access to video of ballot boxes, contrary to Michi-

gan law. Id. This lack of transparency casts significant doubt into the validity of votes.

    46. “[N]umerous issues of fraud and misconduct” from Wayne County were noted in

Costanino v. City of Detroit, Case No. 20-014780-AW, available at https://greatlakesjc.org/wp-

content/uploads/Complaint-Costantino-FINAL-With-Exhibits.pdf?x44644 (last visited Novem-

ber 11, 2020). Complaintants, represented by the Great Lakes Justice Center, summarized the

following issues:

    a. Defendants systematically processed and counted ballots from voters whose name
    failed to appear in either the Qualified Voter File (QVF) or in the supplemental sheets.
    When a voter’s name could not be found, the election worker assigned the ballot to a
    random name already in the QVF to a person who had not voted.
    b. Defendants instructed election workers to not verify signatures on absentee ballots, to
    backdate absentee ballots, and to process such ballots regardless of their validity.
    c. After election officials announced the last absentee ballots had been received, another
    batch of unsecured and unsealed ballots, without envelopes, arrived in traysat the TCF
    Center. There were tens of thousands of these absentee ballots, and apparently every ballot
    was counted and attributed only to Democratic candidates.
    d. Defendants instructed election workers to process ballots that appeared after the elec-
    tion deadline and to falsely report that those ballots had been received prior to November
    3, 2020 deadline.
    e. Defendants systematically used false information to process ballots, such as using
    incorrect or false birthdays. Many times, the election workers inserted new names into the
    QVF after the election and recorded these new voters as having a birthdate of 1/1/1900.
    f. On a daily basis leading up to the election, City of Detroit election workers and em-
    ployees coached voters to vote for Joe Biden and the Democrat party. These workers and
    employees encouraged voters to do a straight Democrat ballot. These election workers and
    employees went over to the voting booths with voters in order to watch them vote and
    coach them for whom to vote.
    g. Unsecured ballots arrived at the TCF Center loading garage, not in sealed ballot boxes,
    without any chain of custody, and without envelopes.


Verified Complaint                               10
      Case 1:20-cv-01088 ECF No. 1, PageID.11 Filed 11/11/20 Page 11 of 28




    h. Defendant election officials and workers refused to record challenges to their processes
    and removed challengers from the site if they politely voiced a challenge.
    i. After poll challengers started discovering the fraud taking place at the TCF Center,
    Defendant election officials and workers locked credentialed challengers out of the count-
    ing room so they could not observe the process, during which time tens of thousands of
    ballots were processed.
    j. Defendant election officials and workers allowed ballots to be duplicated by hand
    without allowing poll challengers to check if the duplication was accurate. In fact, election
    officials and workers repeatedly obstructed poll challengers from observing. Defendants
    permitted thousands of ballots to be filled out by hand and duplicated on site without
    oversight from poll challengers.

Id. More information about each allegation and evidence to support the allegations are contained

within their complaint and accompanying exhibits. See id.

    47. “Election officials in Wayne County refused to permit statutorily designated challengers

to observe the conduct of the election and the processing of ballots.” See Donald J. Trump for

President, Inc. v. Benson, Case No. 1:20-cv-01083, available at https://cdn.donaldjtrump.com/

public-files/press_assets/1.-11-10-20-trump-v.-benson-w.d.-mich.-complaint-final.pdf(last vis-

ited November 11, 2020). This included being denied meaningful opportunity to observe the

counts; denial of access to the facility; denial of re-entry; lack of replacement of Republican chal-

lengers; social distancing enforced in a partisan manner; blocking by election officials; being

forced to observe at unreasonable distances; windows being covered to prevent viewing; and in-

timidation, threatening, and harassment by election officials. See id. at ¶¶ 26-37.

    48. Election officials also ignored and disregarded valid challenges. Id. at ¶¶ 38-41.

    49. Challengers were prohibited from observing the ballot duplication process, which were

only performed by Democrats. Id. at ¶¶ 42-44.

    50. Officials counted ineligible ballots. Id. at ¶¶ 45-53. This includes ballots being repeat-

edly run through tabulation machines, mismatched ballots being counted, illegal addition of vot-


Verified Complaint                               11
      Case 1:20-cv-01088 ECF No. 1, PageID.12 Filed 11/11/20 Page 12 of 28




ers into poll books, counting of ballots with no voter record, ballots counted without signature or

postmark, ballots counted that all contained the same signature, ballots being “corrected” then

counted, the counting of provisional ballots, officials changing ballots, harvested ballots being

dropped off, counting of deceased voters, etc. Id.

    51. Moreover, “[s]ome election officials pre-dated ballots that were not eligible to be

counted by altering the date the ballot was received.” Id. at ¶¶ 54-55.

    52. Ballots were allowed to be dropped into unattended drop boxes, contrary to Michigan

law. Id. at ¶¶ 56-59.

    53. Michigan postal workers were issued a directive to collect an ballots, separate them, and

hand stamp them with the previous day’s date. Michigan USPS Whistleblower Details Directive

From Superiors To Back-Date Late Mail-In-Ballots Nov 3, Project Veritas, available at

https://www.youtube.com/watch?v=fS6xOuhsiJw (last visited November 11, 2020). This direc-

tive was given on November 4, 2020, the day after the election. Id. Michigan law requires that

votes be received “before the close of the polls on election day.” Mich. Code § 168.764A. This

directive was an obvious attempt to circumvent Michigan law and count late votes. It is unclear

how many illegal ballots were accepted and counted as a result of this scheme.

    54. There have been reports that “[m]ore than 10,000 people confirmed or suspected dead

have returned their mail-in ballots to vote in Michigan.” More Than 10,000 Dead People Cast

Ballots in Michigan, Analysis Shows, The Epoch Times, available at https://www.theepoch

times.com/10000-dead-people-returned-mail-in-ballots-in-michigan-analysis-shows_3573209.ht

ml?utm_source=news&utm_medium=email&utm_campaign=breaking-2020-11-10-2 (last vis-

ited November 11, 2020).


Verified Complaint                               12
      Case 1:20-cv-01088 ECF No. 1, PageID.13 Filed 11/11/20 Page 13 of 28




    55. GOP Chairwoman Ronna McDaniel detailed “131 affidavits and 2,800 incident reports

documenting fraud and other irregularities in the election in Michigan.” Massive Election Cor-

ruption Documented in Michigan, Powerline, available at https://www.powerlineblog.com/arch

ives/2020/11/massive-election-corruption-documented-in-michigan.php (last visited November

11, 2020).

    56. In particular, she highlighted “there are thousands of reports of poll watchers being in-

timidated and unable to do their job” in Wayne County. Id.

    57. GOP challengers allege that they were prohibited from accessing the absentee ballot

counting board in Detroit, creating a serious lack of transparency. Officials say their claims are

weak, Bridge Michigan, available at https://www.bridgemi.com/michigan-government/gop-calls

-michigan-election-probe-officials-say-their-claims-are-weak (last visited November 11, 2020).

    58. GOP Chairwoman Ronna McDaniel also detailed reports from a whistleblower alleging:

“being told by a supervisor to backdate ballots that came in after the legal deadline; witnessing

poll workers encouraging voters to vote straight Democrat; and even poll workers going into the

booths with voters.” Massive Election Corruption Documented in Michigan, Powerline, available

at https://www.powerlineblog.com/archives/2020/11/massive-election-corruption-documented-in

-michigan.php (last visited November 11, 2020); see also Officials say their claims are weak,

Bridge Michigan, available at https://www.bridgemi.com/michigan-government/gop-calls-mich

igan-election-probe-officials-say-their-claims-are-weak (last visited November 11, 2020) (detail-

ing allegations of Detroit poll workers being ordered to change the date on ballots, contrary to

Michigan law which requires that votes be received “before the close of the polls on election

day[,]” (Mich. Code § 168.764A)).


Verified Complaint                              13
      Case 1:20-cv-01088 ECF No. 1, PageID.14 Filed 11/11/20 Page 14 of 28




    59. To further exacerbate the transparency issue, poll workers in Detroit covered the win-

dows of the polling center, preventing challengers and inspectors from viewing the counting pro-

cess. WATCH: Allegations of violations fly as Michigan polling centre covers up windows, PM,

available at https://thepostmillennial.com/watch-allegations-of-violations-fly-as-michigan- poll-

ing-centre-covers-up-windows (last visited November 11, 2020); Republican AGs Tweet, avail-

able at https://twitter.com/RepublicanAGs/status/1324360088371552260?utm_source=Sailthru

&utm_medium=email&utm_campaign=20201107_Weekend_Jolt&utm_term=Jolt-Smart (last

visited November 11, 2020). This lack of transparency, as is required by Michigan law, justifies

validation of votes.

    60. There is also evidence of suitcases and coolers being moved into a secure voting center

in Detroit in the early morning hours of 1 to 5 AM. VIDEO: Wagons, Suitcases, and Coolers Roll

Into Detroit Voting Center at 4 AM, Texas Scorecard, available at https://texasscorecard.com/

federal/video-wagons-suitcases-and-coolers-roll-into-detroit-voting-center-at-4-am/ (last visited

November 11, 2020). This raises significant security concerns that places the validity of votes in

question. It also makes clear that reasonable safeguards were not in place in Wayne County.

    61. There are reports of “vote dumps” around 4 AM where Biden received almost 100% of

those votes. There is Undeniable Mathematical Evidence the Election is Being Stolen, The Red

Elephants, available at https://theredelephants.com/there-is-undeniable-mathematical-evidence-

the-election-is-being-stolen/ (last visited November 11, 2020).

    62. In Antrim County, a software glitch caused at least 6,000 ballots to be counted for Dem-

ocrats that were actually cast for Republicans. Michigan GOP chairwoman says software glitch

tallied thousands of Republican votes as Democrat, Fox News, available at https://www.foxnew


Verified Complaint                              14
      Case 1:20-cv-01088 ECF No. 1, PageID.15 Filed 11/11/20 Page 15 of 28




s.com/politics/michigan-gop-chairwoman-says-software-glitch-tallied-thousands-of-republican-v

otes-as-democrat (last visited November 10, 2020). Similar glitches could have affected many

other Michigan counties, as it has been reported that 69 of Michigan’s 83 counties use the same

software. Human error, Dominion voting equipment fuel false fraud claims in Michigan, Bridge

Michigan, available at https://www.bridgemi.com/michigan-government/human-error-dominion-

voting-equipment-fuel-false-fraud-claims-michigan (last visited November 11, 2020). See also

Donald J. Trump for President, Inc. v. Benson, Case No. 1:20-cv-01083, at ¶¶ 60-67 available at

https://cdn.donaldjtrump.com/public-files/press_assets/1.-11-10-20-trump-v.-benson-w.d.-mich.-

complaint-final.pdfa (last visited November 11, 2020) (detailing the error and highlighting that

“Secretary Benson fail[ed] to address is what would have happened if no one ‘discover[ed] the

error,’ for instance, in Wayne County, where the number of registered voters is much greater than

Antrim County, and where the tabulators were not individually tested.”).

    63. Wayne County uses the same software as Antrim and “tested only a single one of its vote

tabulating machines before the election.” Id. at ¶ 4.

    64. There were also clerical errors which resulted in thousands of ballots being given to

Democrats, even though they were republican ballots. Officials say their claims are weak, Bridge

Michigan, available at https://www.bridgemi.com/michigan-government/gop-calls-michigan-

election-probe-officials-say-their-claims-are-weak (last visited November 11, 2020).

    65. Specifically, in Oakland County, it was initially reported that Adam Kochenderfer lost by

a few hundred votes. However, after an error was found and fixed, Kochenderfer was found to

have won by over 1,000 votes. There is Undeniable Mathematical Evidence the Election is Being

Stolen, The Red Elephants, available at https://theredelephants.com/there-is-undeniable-mathema


Verified Complaint                               15
      Case 1:20-cv-01088 ECF No. 1, PageID.16 Filed 11/11/20 Page 16 of 28




tical-evidence-the-election-is-being-stolen/ (last visited November 11, 2020).

    66. A Republican candidate for state legislature initially only received two votes, an error

that was later corrected. Election Program ‘Issue’ Tallied Only 2 Votes for GOP Candidate, 33

MI Counties Thought To Be Using the Same Software, The Western Journal, available at

https://www.westernjournal.com/election-program-issue-tallied-2-votes-gop-candidate-33-mi-co

unties-thought-using-software/?ff_source=facebook&ff_medium=huckabee (last visited Novem-

ber 10, 2020). Of particular note, the program that caused the error is used by at least 33 other

Michigan counties. Id.

    67. There are also reports of multiple ballots being sent to a single address. Mark Springer, a

Michigan resident, received seven mail-in ballot delivered to his mailbox. Joint Senate and

House Committee move to investigate voting fraud allegations, WILX10, available at

https://www.wilx.com/2020/11/07/michigan-joint-senate-and-house-committee-move-to-investig

ate-voting-fraud-allegations/ (last visited November 11, 2020).

    68. Over 50 Michigan counties, including Wayne and Washtenaw, had “more registered vot-

ers than eligible voting-age citizens”. New Judicial Watch Study Finds 353 U.S. Counties in 29

States with Voter Registration Rates Exceeding 100%, Judicial Watch, available at

https://www.judicialwatch.org/press-releases/new-jw-study-voter-registration/ (last visited No-

vember 11, 2020). Of particular relevance here, Wayne County registration rate was 107% and

Washtenaw County was 113%. Id. This alone raises suspicion of the accuracy and validity of the

election.

    69. As a result of the many issues and irregularities, the Michigan Legislature is convening

an oversight committee to evaluate the Michigan election and counting procedures. GOP calls


Verified Complaint                               16
      Case 1:20-cv-01088 ECF No. 1, PageID.17 Filed 11/11/20 Page 17 of 28




for Michigan election probe. Officials say their claims are weak, Bridge Michigan, available at

https://www.bridgemi.com/michigan-government/gop-calls-michigan-election-probe-officials-sa

y-their-claims-are-weak (last visited November 11, 2020); Michigan Legislature issues subpoena

to state election officials in rare Saturday hearing, Detroit Free Press, available at https://www.fr

eep.com/story/news/politics/elections/2020/11/07/gop-state-lawmakers-issue-subpoena-michigan

-election-records/6203094002/ (last visited November 11, 2020).

    70. Additionally, a Joint Senate and House Committee is investigating claims of voting fraud

in Michigan. Joint Senate and House Committee move to investigate voting fraud allegations,

WILX10, available at https://www.wilx.com/2020/11/07/michigan-joint-senate-and-house-comm

ittee-move-to-investigate-voting-fraud-allegations/ (last visited November 11, 2020).

    71. Finally, federal investigators are also looking into the State’s fraud issues. Federal Inves-

tigators Arrive in Michigan After Voter Fraud Allegation Video Goes Viral, The Western Jour-

nal, available at https://www.westernjournal.com/federal-investigators-arrive-michigan-voter-

fraud-allegation-video-goes-viral/?utm_source=facebook&utm_medium=huckabee&fbclid=IwA

R2oz7ZNyzd4iujKVnbsF5URQz42xGqRMahRWZ1q8G_Iij4s6o_wWspBh0I (last visited No-

vember 11, 2020).

    72. This evidence suffices to place in doubt the November 3 presidential-election results in

identified counties and/or the state as a whole. Indeed, issues with thousands of votes cast war-

rants investigation of the rest.

Further Evidence To Be Provided From Relevant Records

    73. In addition to the foregoing evidence, Voters will provide evidence, upon information

and belief, that sufficient illegal ballots were included in the results to change or place in doubt


Verified Complaint                                17
      Case 1:20-cv-01088 ECF No. 1, PageID.18 Filed 11/11/20 Page 18 of 28




the November 3 presidential-election results. This will be in the form of expert reports based on

data analysis comparing state mail-in/absentee, provisional, limited ballot, and poll-book records

with state voter-registration databases, United States Postal Service (“USPS”) records, Social

Security records, criminal-justice records, driver’s license and state ID records, and other govern-

mental and commercial sources by using sophisticated and groundbreaking programs to deter-

mine the extent of illegal voters and illegal votes, including double votes, votes by ineligible vot-

ers, votes by phantom (fictitious) voters, votes by incarcerated persons, non-citizen votes, illegal

ballot harvesting, and pattern recognition to identify broader underlying subversion of the elec-

tion results. Plaintiffs have persons with such expertise and data-analysis software already in

place who have begun preliminary analysis of available data to which final data, such as the offi-

cial poll list, will be added and reports generated.

    74. Upon information and belief, the expert report will identify persons who cast votes ille-

gally by casting multiple ballots, were deceased, had moved, or were otherwise not qualified to

vote in the November 3 presidential election, along with evidence of illegal ballot stuffing, ballot

harvesting, and other illegal voting. This evidence will be shortly forthcoming when the relevant

official documents are final and available, for which discovery may be required, and the result of

the analysis and expert reports based thereon will show that sufficient illegal ballots were in-

cluded in the results to change or place in doubt the November 3 presidential-election results.

    75. Plaintiffs have no adequate remedy at law and will suffer serious and irreparable harm

unless the injunctive relief requested herein is granted.




Verified Complaint                                18
      Case 1:20-cv-01088 ECF No. 1, PageID.19 Filed 11/11/20 Page 19 of 28




                                               Claims

                                          Count I
    Certifying Presidential Electors Without Excluding Certain Counties Would Violate
         Voters’ Fundamental Right to Vote by Vote-Dilution Disenfranchisement.
                      (42 U.S.C. § 1983; U.S. Const. amends. 1 and 14)

    76. Plaintiffs re-allege and incorporate by reference all of the allegations contained in all of

the preceding paragraphs.

    77. Certifying Presidential Electors without excluding certain counties would violate voters’

fundamental right to vote by vote-dilution disenfranchisement.

    78. The counties at issue are those identified in the Facts where sufficient illegal ballots were

included in the results to change or place in doubt the November 3 presidential-election results.

    79. The right to vote, with the included right to have one’s vote counted, is protected by the

First and Fourteenth Amendments and is fundamental, Harper v. Va. State Bd. of Elections, 383

U.S. 663, 667 (1966), and well-established: “Undeniably the Constitution of the United States

protects the right of all qualified citizens to vote, in state as well as in federal elections” and to

have that vote counted, Reynolds v. Sims, 377 U.S. 533, 554 (1964).

    80. “The right to vote can neither be denied outright, nor destroyed by alteration of ballots,

nor diluted by ballot-box stuffing.” Id. at 555 (internal citations omitted). “And the right of suf-

frage can be denied by a debasement or dilution of the weight of a citizen’s vote just as effec-

tively as by wholly prohibiting the free exercise of the franchise.” Id.

    81. If Defendants certify presidential-election results from counties where sufficient illegal

ballots were included in the results to change or place in doubt the November 3 presidential-elec-

tion result, Voters valid, legal votes will be unconstitutionally diluted by illegal votes.


Verified Complaint                                 19
      Case 1:20-cv-01088 ECF No. 1, PageID.20 Filed 11/11/20 Page 20 of 28




    82. As recognized in Donald J. Trump for President v. Bullock, 2020 WL 5810556 (D.

Mont. Sept. 30, 20200, individual voters have standing to bring a vote-dilution disenfranchise-

ment claim, id. at *7 & n.4. “[T]he Supreme Court has repeatedly enumerated the principle that

claims alleging a violation of the right to vote can constitute an injury in fact despite the wide-

spread reach of the conduct at issue.” Id. at 7. See also Gill v. Whitford, 138 S. Ct. 1916, 1929

(2018) (“[A] person’s right to vote is ‘individual and personal in nature,’” so “‘voters who allege

facts showing disadvantage to themselves as individuals have standing to sue’ to remedy that dis-

advantage” (citations omitted)). Under the generalized-grievance formulations in Lujan v. De-

fenders of Wildlife, 504 U.S. 555 (1992), this claim is not a generalized grievance. Lujan said it

turns on whether a plaintiff (i) is merely asserting “citizen” standing, i.e., the same claim that

could be asserted by “every citizen,” and (ii) just trying to make the government do its job. Id. at

560-61. Voters don’t bring their claims under mere “citizen” standing but rather assert personal

harms from the violation of their own fundamental right to vote. Their claim is particularized,

challenging only what violates their rights. Their harm is not the same as for every “citizen.”

“[D]enying standing to persons who are in fact injured simply because many others are also in-

jured, would mean that the most injurious and widespread Government actions could be ques-

tioned by nobody.” United States v. SCRAP, 412 U.S. 660, 686-68 (1973); see also, FEC v.

Akins, 524 U.S. 11, 24 (1998). Voters’ harm is four levels more specific than “every citizen[’s]”

for their claim: (1) within “citizens” are those eligible to register as voters—only they have the

potential to become registered voters; (2), within eligible voters are registered voters—only they

have a right to vote; (3) within eligible, registered voters are those who actually voted—only they

have a vote subject to vote-dilution disenfranchisement; and (4) within these eligible, registered,


Verified Complaint                                20
      Case 1:20-cv-01088 ECF No. 1, PageID.21 Filed 11/11/20 Page 21 of 28




voters who actually voted are those in a jurisdiction where there are counties with evidence that

sufficient illegal ballots were included in the results to change or place in doubt the results of the

November 3 presidential election. Those very specific voters with a very specific claim don’t as-

sert a generalized grievance, and they include Voters. Thus, Voters have standing.

    83. As established in the Facts discussion, existing and forthcoming evidence establish that

in identified counties illegal voting has occurred in connection with the presidential-election re-

sults, which establishes that Voters’ votes have been unconstitutionally diluted. So the

presidential-election elections in those counties should be invalidated and not included in the

certification of votes for selecting Presidential Electors.

    84. The relevant standard for invalidating election results from a particular jurisdiction gen-

erally is that “‘the party contesting the election demonstrates an irregularity or illegality sufficient

to change or place in doubt the result.’” 26 Am. Jur. 2d Elections § 389 (quoting Gore v. Harris,

772 So.2d 1234 (Fla. 2000), rev’d on other grounds, Bush v. Gore, 531 U.S. 98 (2000)). “Ordi-

narily, an election may be contested only for matters that would impeach the fairness of the re-

sult.” Id. (citing Duncan v. McMurray, 249 S.W.2d 156 (Ky. 1952); Appeal of Soucy, 649 A.2d

60 (N.H. 1994); Fielding v. South Carolina Election Com’n, 408 S.E.2d 232 (S.C. 1991). “An

election will not be invalidated unless the party contesting the election demonstrates an irregular-

ity or illegality sufficient to change or place in doubt the result.” Id. (citing Middleton v. Smith,

539 S.E.2d 163 (Ga. 2000)).

    85. In Harris, the Florida statute included as grounds for contesting an election “‘Receipt of

a number of illegal votes or rejection of a number of legal votes sufficient to change or place in

doubt the result of the election.’” 772 So.2d at 1250 (citation and emphasis omitted). Harris


Verified Complaint                                21
      Case 1:20-cv-01088 ECF No. 1, PageID.22 Filed 11/11/20 Page 22 of 28




summarized the standard thus: “It is not enough to show a reasonable possibility that election

results could have been altered by such irregularities, or inaccuracies, rather, a reasonable proba-

bility that the results of the election would have been changed must be shown.” Id. at 1255.

    86. This generally recognized standard is reflected in this State’s laws. See, e.g. Vorva v.

Plymouth-Canton Cmty. Sch. Dist., 658–59, 584 N.W.2d 743, 746 (Mich. S. Ct. 1998) (“[i]t has

been repeatedly held by [the Michigan Supreme Court] that irregularities in the conducting of an

election will not invalidate the action taken unless it appears that the result was, or may have

been affected thereby.” (quoting Rosenbrock v. School Dist. No. 3, Fractional, 74 N.W.2d 32

(Mich. S. Ct. 1955); Attorney Gen. v. McQuade, 53 N.W. 944, 945 (Mich. S. Ct. 1892) (“When

the result, as shown by the returns, is false and fraudulent, and it is impossible to ascertain the

actual vote from the other evidence in the case, the vote of such poll must be wholly rejected.”).

    87. Regarding evidence for invalidating election results in a jurisdiction, Harris established

that the required showing could be made (inter alia) by “credible statistical evidence” establish-

ing a changed election outcome “by a preponderance of a reasonable probability,” id.:

    In this case, there is no credible statistical evidence, and no other competent substantial
    evidence to establish by a preponderance of a reasonable probability that the results of the
    statewide election in the State of Florida would be different from the result which has been
    certified by the State Elections Canvassing Commission.

    88. In addition to states routinely providing for invalidating election results, including in the

Presidential Electors context, the U.S. Supreme Court itself in Bush, 531 U.S. 98, required that

partial recounts in some counties (that unconstitutionally employed different and unclear stan-

dards for determining voter intent) be excluded from the final count in the Florida 2000 presiden-

tial election because of the constitutional flaws identified, id. at 107-12.



Verified Complaint                                22
      Case 1:20-cv-01088 ECF No. 1, PageID.23 Filed 11/11/20 Page 23 of 28




    89. The foregoing articulations of the standard for invalidating election results in a particular

jurisdiction—including proof of reasonable probability by credible statistical evidence—should

be applied here to determine whether the election results in certain counties should be excluded

for purposes of certifying Presidential Electors. In some situations where election results are in-

validated, a new election is ordered. See, e.g., Pabey v. Pastrick, 816 N.E.2d 1138 (Ind. 2004).

But with the Electoral College scheduled to be certified by December 8 and to meet and vote on

December 14, 2020, there is insufficient time for a new election in the counties involved. More-

over, the Electoral College is unique and statutory provisions provide special procedures for

moving the Electoral College vote along expeditiously since the presidency is at issue. So the

proper remedy here is to exclude the results from jurisdictions meeting the standard for disquali-

fying elections from the final results that are certified and reported for Presidential Electors.

    90. Because illegal votes dilute legal votes, the evidence establishes, and will establish, that

the rights of Voters have been violated by vote-dilution disenfranchisement. Consequently, the

presidential-election results from the counties identified should not be included in certified and

reported totals for Presidential Electors from this state.

                                        Prayer for Relief

    91. Declare that the inclusion of illegal votes in identified counties violates Voters’ right to

vote under the First and Fourteenth Amendment by vote-dilution disenfranchisement.

    92. Declare that the proper remedy for this constitutional violation as applied to presidential-

election results is to exclude presidential-election results from those counties for the Presidential

Elector certification under 3 U.S.C. § 6 for this state.

    93. Under that remedy, declare that there is sufficient evidence that illegal votes were

Verified Complaint                                23
      Case 1:20-cv-01088 ECF No. 1, PageID.24 Filed 11/11/20 Page 24 of 28




counted in the identified county or counties to change or place in doubt the results of the Novem-

ber 3, 2020 presidential election results in contested counties, or in the state overall, so that the

county’s presidential-election results must be invalidated.

    94. Enjoin Defendants from preparing and conducting the certification activities for Presi-

dential Electors described in 3 U.S.C. § 6 (and applicable state law implementing the federal pro-

vision) without excluding the presidential-election results from the identified counties.

    95. Award Voters their costs and attorneys fees under 42 U.S.C. § 1988 and any other appli-

cable authority; and

    96. Grant any and all other such relief as this Court deems just and equitable.

Date: November 11, 2020                         Respectfully Submitted,

                                                /s/ Maxwell Goss
                                                Maxwell Goss (MI #P78594)
                                                 max@maxwellgoss.com
                                                Maxwell Goss, PLLC
                                                370 E. Maple Rd., Third Floor
                                                Birmingham, Michigan 48009
                                                Telephone: 248/266-5879
                                                Local Counsel for Plaintiffs

                                                James Bopp, Jr. (IN #2838-84)*
                                                 jboppjr@aol.com
                                                Richard E. Coleson (IN #11527-70)*
                                                 rcoleson@bopplaw.com
                                                Courtney Turner Milbank (IN #32178-29)*
                                                 cmilbank@bopplaw.com
                                                True the Vote, Inc.
                                                 Validate the Vote Project
                                                THE BOPP LAW FIRM, PC
                                                1 South Sixth St.
                                                Terre Haute, IN 47807-3510
                                                Telephone: 812/232-2434
                                                Lead Counsel for Plaintiffs
                                                * Application for admission forthcoming

Verified Complaint                                24
Case 1:20-cv-01088 ECF No. 1, PageID.25 Filed 11/11/20 Page 25 of 28
      Case 1:20-cv-01088 ECF No. 1, PageID.26 Filed 11/11/20 Page 26 of 28




                                            Verification

I,   SfoVe      nr     ,& "/4h           declme as follows:

     1.I am aresident of Michigan.

     2. If called upon to testifu, I woutd testify competently as to the matters set forth in the fore-

going Verified Complaintfor Declaratory and Injunctive Relief.

     3. I verify under penalty of perjury under the laws of the United States of America that the

factual statements in this VeriJied Complaintfor Declaratory and Injuncttve Reliefconceming

me and my p.ast and intended activities are true and correct to the best of my knowledge and un-

derstanding.28 U.S.C.    I   1746.

Executed on Novemb er    J e-    202A.
Case 1:20-cv-01088 ECF No. 1, PageID.27 Filed 11/11/20 Page 27 of 28
Case 1:20-cv-01088 ECF No. 1, PageID.28 Filed 11/11/20 Page 28 of 28




               10
